
BEEZER, Circuit Judge,
Concurring:
I specially concur in the opinion of the court. I express my views concerning the interpretation of the Stevens Treaties and the appointment of special masters.
I
The Stevens Treaties provide:
The right of taking fish, at all usual and accustomed grounds and stations, is further secured to said Indians, in common with all citizens of the Territory, and of erecting temporary houses for the purpose of curing, together with the privilege of hunting, gathering roots and berries, and pasturing their horses on open and unclaimed lands: Provided, however, that they shall not take shell fish from any beds staked or cultivated by citizens.
Treaty of Medicine Creek, December 26, 1854, 10 Stat. 1132, Art. III (it is undisputed that this clause is substantively identical in all subject treaties).
The United States asks us to hold that shellfish beds, unharvested in the nineteenth century, were “usual and accustomed” tribal fishing grounds in 1854. This argument strains even the deferential canons of Indian treaty interpretation. It is, however, the law of this case and of the Supreme Court that the reserved fishing right makes no distinctions between migratory fish and shellfish or between fish runs and static fishing grounds. The origin of. this rule of law is perplexing.
In 1974, Judge Boldt concluded that the Indian Tribes had treaty fishing rights which entitled them to harvest up to fifty percent of fish passing through the tribes’ fishing grounds. United States v. Washington, 384 F.Supp. 312 (W.D.Wash.1974) (“Boldt Decision”), affd; 520 F.2d 676 (9th Cir.1975), cert. denied, 423 U.S. 1086, 96 S.Ct. 877, 47 L.Ed,2d 97 (1976). The Supreme Court “substantially upheld” the Boldt Decision in Washington v. Fishing Vessel Ass’n, 443 *658U.S. 658, 99 S.Ct. 3055, 61 L.Ed.2d 823 (1979). United States v. Siuyumnish Indian Tribe, 901 F.2d 772, 773 (9th Cir.1990). The Boldt Decision held that the fishing right is “not limited as to species of fish.” Boldt Decision, 384 F.Supp. at 401.
Fishing Vessel held that tribes have a right to equal amounts of fish “taken from runs of fish that pass through the Indians’ usual and accustomed fishing grounds.” Fishing Vessel, 443 U.S. at 689, 99 S.Ct. 3055. A tribe’s rights are defined in case law by the grounds the tribe fished and not the particular species taken. The Indians reserved the “right to take a share of each ran of fish that passes through tribal fishing areas.” Id. at 679, 99 S.Ct. 3055. Implicit in the Fishing Vessel opinion is the principle that to limit access strictly to historical fishing grounds and species would render the right to fish a nullity because citizens could harvest all fish downstream. Similarly, in United States v. Winans, 198 U.S. 371, 25 S.Ct. 662, 49 L.Ed. 1089 (1905), the Court determined that the issuance of a license to erect a fishing wheel where the device deprived Indians of the run of fish that passed through their usual and accustomed fishing grounds was impermissible.
The underpinning of the Court’s interpretation of the Stevens Treaties should not apply to shellfish because they are, with the exception of crustaceans, immobile. There can be no device that prevents the migration of immobile shellfish to, through or from the tribes’ usual and accustomed fishing grounds.
The burden imposed by our opinion cannot be overstated. The record in this case makes abundantly clear that since treaty times a vibrant shellfish industry has developed in the State of Washington along the saltwater beaches of the Pacific Ocean and along tidelands adjoining the inland waters of Puget Sound.
The labors of a modem day shellfish producer are vividly recounted in The Seattle Times, May 1,1997, p. R-l, as follows:
After all, one of the first skills he found necessary was the patience to stare for 1Ü hours at a time at a leathery, slithering geoduck neck sticking out of a plastic bucket full of sand—waiting to catch the unlovely bivalve in its private, and very erratic, act of spawning. Complicating the task is the fact that geoducks must spawn before hatchery breeders, such as Dah-man, can tell the males from the females.
“It’s maddening stuff. These geoducks can make a long day of it for you,” says Dahman. His tattered logger’s clothing and irreverent rants about biologists and bureaucrats belie the mix of genetics, mechanical engineering, global marketing and money going into this venture.
“The idea here is to grow geoducks where we’ve never been able to grow anything before. We’re still crawling at all this.”
For Dahman, the first baby steps will come this fall when he harvests the initial crop of hatchery-reared geoducks planted on his south Puget Sound tidelands outside of Shelton four years ago.
Dahman Shellfish and its neighbor, Taylor United, one of the state’s biggest shellfish growers, are believed to be the first in the U.S. commercially raising geoducks—a forerunner, predict aquaculture experts, to eventually breeding such edible if weird-looking creatures as sea cucumbers and sea urchins in the lab.
Citizens—as well as tribal members and the state—have long set aside suitable tidelands acquired by purchase, by inclusion in reservation boundaries or by dedications adjoining state lands to the cultivation of clams, oysters and other species of shellfish. The opinion we file today will open these tidelands to the harvest of commercially valuable shellfish by the Tribes in common with the citizens as a matter of treaty right.
It is now clear that the Tribes are granted access to tidelands which contain cultivated shellfish produced by the Growers. The details of how mueh and when the Tribes may harvest shellfish from such lands remains unresolved. We assign the Growers “the burden of proving pre-enhancement harvest versus post-enhancement harvest.” The district court will be faced with the application of this scheme. Our suggestion shifts the law that the party asserting a treaty right must prove that right. See, e.g., United *659States v. Lummi Indian Tribe, 841 F.2d 817, 318 (9th Cir.1988) (a tribe asserting usual and accustomed fishing grounds has the burden to produce evidence that a particular location was customarily used at treaty time). The assignment of the burden of proof is critical. The district court, after hearing testimony, determined that it “would be very difficult—-if not impossible—to develop a ‘snapshot’ of existing shellfish beds at the time commercial development commenced on the Growers’ property.” Shellfish II, 898 F.Supp. at 1462. Where a disputed fact cannot be proven, the placement of the burden of proof is dispositive. The Growers’ burden is heavy and the district court’s assignment is daunting.
The tension between grower and Indian under treaty provisions is clear. One will not grow shellfish on lands bearing natural shellfish to provide subsistence to the other without compensation for the damage occurring to the cultivated shellfish. The majority asks the parties to “constructively ... work together to respect each others’ rights.” I fear the time for that has passed. The fact that the Tribes are concerned about the Growers’ “gaping loophole” to deny them access to naturally occurring shellfish by never allowing their beds to be free of oyster crops evidences the tension between the parties. Burden of proof and access issues that remain unresolved in the opinion we file today guarantee continuing disputes between the tribes and the citizens of Washington State.
Property rights, which have been undisturbed for generations, are encumbered by our decision today. In Vanhome’s Lessee v. Donnnce, 2 U.S. (2 Dall.) 304, 310, 1 L.Ed. 391 (1795), Justice Patterson observed:
From these passages it is evident; that the right of acquiring and possessing property, and having it protected, is one of the natural, inherent, and unalienable rights of man. Men have a sense of property: Property is necessary to their subsistence and correspondent to their natural wants and desires; its security was one of the objects, that induced them to unite in society. No man would become a member of a community, in which he could not enjoy the fruits of his honest labour and industry. The preservation of property then is a primary object of the social compact, and, by the late Constitution of Pennsylvania, was made a fundamental law.
Property rights, so fundamental to American government, need not be trampled upon. Exclusive use of private tidelands by commercial growers should not deprive the Tribes of their treaty share of shellfish; the Tribes could be allocated half of the naturally occurring shellfish without disturbing the hard-earned and long-held property rights of private growers. Shares of the shellfish taken, of course, need not be determined by the place where the shellfish are taken.1 Thus, a tribal share of shellfish could come from reservation land, government land or private tidelands acquired by the tribe.
Survival of Washington’s shellfish industry depends upon the growers’ ability to dedicate tidelands to exclusive use. This cannot be done under existing case law interpretation of the Stevens Treaties. We are, however, bound, by the authority of the Supreme Court and the law of the case, to that interpretation. Exclusive use of tidelands will be possible if the Supreme Court recognizes the shellfish proviso with respect to “cultivation” and makes clear the distinctions between migratory fish and shellfish; between fish runs and static fishing grounds; and between natural shellfish and cultivated shellfish.
II
The district court held that, upon proper showing and subject to time, place and manner restrictions, the Tribes are entitled to cross private property in order to exercise their shellfishing rights. United States v. Washington, 909 F.Supp. 787, 792 (W.D.Wash.1995). If a dispute arises between a property owner and a Treaty Tribe, concerning the exercise of the Shellfish Treaty light, the matter is to be resolved by a *660special master. Id, The Tribes, the State of Washington, the Shellfish Growers and the Private Property Owners each are permitted to designate a special master, one of which is to be selected at random to resolve a pending dispute. Id, at 793-94. The special master is to issue a written report and recommendation subject to approval and adoption by the district court. Id, at 794. The opinion filed today holds that “due process is violated” because “there is a seventy-five percent chance that Appellants’ master will be selected.” We vacate and remand to the district court to reconfigure the appointment of special masters.
Fed.R.Civ.P. 53(a), which governs the appointment of special masters, states in pertinent part, “[t]he court in which any action is pending may appoint a special master therein.” Reference to a master “shall be the exception and not the rule” and shall be made “upon a showing that some exceptional condition requires it.” Burlington Northern v. Dep't of Revenue, 934 F.2d 1064, 1071 (9th Cir.1991) (quoting Fed.R.Civ.P. 53(b)). “The use of masters is ‘to aid judges in the performance of specific judicial duties, as they may arise in the progress of a cause,’ and not to displace the court.” La Buy v. Howes Leather Co., 352 U.S. 249, 256, 77 S.Ct. 309, 1 L.Ed.2d 290 (1957) (quoting Ex Parte Peterson, 253 U.S. 300, 40 S.Ct. 543, 64 L.Ed. 919 (1920)). “Litigants are entitled to a trial by the court, in every suit, save where exceptional circumstances are shown.” Id, at 258, 77 S.Ct. 309. “Congestion in itself is not such an exceptional circumstance as to warrant a reference to a master.” Id. at 259, 77 S.Ct. 309; see also Wright &amp; Miller, Federal Practice and Procedure: Civil 2d § 2601 (1995) (the appointment of a master is for the purpose of assisting the court to obtain facts). “The Courts have tended to read Rule 53 narrowly, closely circumscribing the range of circumstances in which reference to a master is appropriate.” Burlington Northern, 934 F.2d at 1071 (quoting In re Armco, 770 F.2d 103, 105 (8th Cir.1985)).
Referral to a special master is reviewed for an abuse of discretion. Burlington Northern, 934 F.2d at 1071 (citing United States v. Suquamish Indian Tribe, 901 F.2d 772, 774 (9th Cir.1990)). We have affirmed the use of special masters repeatedly in the Stevens Treaty cases. See, e.g., Suquamish Indian Tribe, 901 F.2d at 775 (noting that we could “not think of a more comprehensive and complex case than” the Boldt decision and its successors); see also United States v. Washington, 730 F.2d 1314 (9th Cir.1984). In the present matter, however, the district court made no finding that disputes regarding whether tribes must pass over private land to harvest shellfish is complex or extraordinary. Indeed, disputes are likely to present straightforward trespass and property questions. Because the district court did not make a finding of complexity or exceptional circumstance as required under Rule 53, referral to a special master is not yet appropriate.
Neutrality of the special master is also a paramount concern. In the Stevens Treaty cases, prior referrals have been to a magistrate judge, not a master selected by the parties. See, e.g., United States v. Washington, 626 F.Supp. 1405 (W.D.Wash.1985). The Supreme Court has long held that “due process implies a tribunal both impartial and mentally competent to afford a hearing.” Jordan v. Massachusetts, 225 U.S. 167, 176, 32 S.Ct. 651, 56 L.Ed. 1038 (1912); see also Marshall v. Jerrico, Inc., 446 U.S. 238, 242, 100 S.Ct. 1610, 64 L.Ed.2d 182 (1980) (“The Due Process Clause entitles a person to an impartial and disinterested tribunal in both civil and criminal cases.”). The neutrality requirement helps guarantee that life, liberty or property will not be taken on the basis of an erroneous or distorted conception of the facts or the law and preserves the appearance and reality of fairness. Marshall, 446 U.S. at 242, 100 S.Ct. 1610. A party may establish that he has been denied his constitutional right to a fair hearing before an impartial tribunal by a showing of actual bias or the adjudicator’s pecuniary or personal interest in the outcome. Stivers v. Pierce, 71 F.3d 732 (9th Cir.1995). In addition to the constraints of due process, Canon 1 of the Code of Conduct for United States Judges sets the integrity and independence of the judiciary as an indispensable goal. Administrative Office of U.S. Courts, Code of Judicial Conduct for United States Judges (1997).
*661The masters here are selected by the parties, presumably because the candidates are likely to rule favorably. Whether each side is permitted to designate one or many potential candidates, the result is a master that is chosen because of a real or perceived bias. Even if the district court ultimately approves the selection of the master and adopts the master’s report and recommendation, that does not cure the error. A property owner subject to an unforeseen access easement or a tribe denied access to a harvest will find little solace in the judge’s signature adopting the special master’s findings.
I would hold that the special master selection process adopted by the district eourt violates due process. I would remand to the district court to make findings supporting the necessity for a master; to appoint an independent special master and to give special consideration to the appointment of a magistrate judge.

. Fishing Vessel makes this point clear. The Court held that “fish taken by treaty fisherman off the reservations and at locations other than ‘usual and accustomed' sites ... [are] to be counted as part, of the Indians' [treaty] share." Fishing Vessel, 443 U.S. at 687 n. 29, 99 S.Ct. 3055.

